           Case 1:11-vv-00628-UNJ Document 40 Filed 04/04/14 Page 1 of 2




    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 11-628V
                                          March 14, 2014

*************************                                          UNPUBLISHED
HOLLY HELMS, on behalf of       *
her minor child, LMH,           *                                  Special Master Dorsey
                                *
                    Petitioner, *
                                *                                  Diptheria, Tetanus, Pertussis
v.                              *                                  Vaccination (DTaP);
                                *                                  Encephalopathy; Attorneys’ Fees;
                                *                                  Reasonable Amount Requested to
SECRETARY OF HEALTH             *                                  Which Respondent Does Not Object.
AND HUMAN SERVICES,             *
                                *
                    Respondent. *
*************************

Aaron R. Dias, Richardson, Patrick, Westbrook & Brickman, LLC, Mount Pleasant, SC, for
       petitioner.
Alexis Babcock, U.S. Department of Justice, Washington, DC, for respondent.

                       DECISION ON ATTORNEYS’ FEES AND COSTS 1

        On September 29, 2011, Holly Helms (“petitioner”), on behalf of her minor child LMH,
filed a petition for compensation under the National Vaccine Injury Compensation Program. 2 42
U.S.C. §§ 300aa-1 to -34 (2012). Petitioner alleged that as a result of receiving a Diptheria,
Tetanus, Pertussis (DTaP) vaccination on June 16, 2009, LMH developed an encephalopathy and


1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case, the
undersigned intends to post this ruling on the website of the United States Court of Federal Claims, in
accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913
(codified as amended at 44 U.S.C. § 3501 note (2012)). As provided by Vaccine Rule 18(b), each party
has 14 days within which to request redaction “of any information furnished by that party: (1) that is a
trade secret or commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b).
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood
Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§
300aa-1 to -34 (2012) (Vaccine Act or the Act). All citations in this decision to individual sections of the
Vaccine Act are to 42 U.S.C.A. § 300aa.
          Case 1:11-vv-00628-UNJ Document 40 Filed 04/04/14 Page 2 of 2



sequela. The undersigned determined that petitioner was not entitled to compensation and
dismissed the case for insufficient proof. Decision, filed October 15, 2013, at 1-2.

        On March 13, 2014, the parties filed a stipulation of facts concerning attorneys’ fees and
costs. In it, the parties stipulate that petitioner’s counsel is entitled to be reimbursed for
$16,882.02 in attorneys’ fees and costs. In accordance with General Order #9, petitioner’s
counsel represents that petitioner has incurred no out-of-pocket expenses in pursuing her
petition.

        The Vaccine Act permits an award of reasonable attorneys’ fees and costs. 42 U.S.C. §
300 aa-15(e). Based on the reasonableness of the parties’ stipulation, the undersigned GRANTS
the request for approval and payment of attorneys’ fees and costs.

        Accordingly, an award should be made as follows:

        A lump sum of $16,882.02, in the form of a check jointly payable to petitioner and to
        Mr. Aaron R. Dias of the law firm of Richardson, Patrick, Westbrook & Brickman,
        LLC.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT herewith. 3


        IT IS SO ORDERED.

                                                          s/ Nora Beth Dorsey
                                                             Nora Beth Dorsey
                                                             Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of notice
renouncing the right to seek review.
